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                           UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW MEXICO

UNITED STATES OF AMERICA,
     Plaintiff,
v.
STERLING ISLANDS, INC.,
AL-ZUNI GLOBAL JEWELRY, INC.,
JAWAD “JOE” KHALAF,                                    Case No. CR 18-4176 JB
NADER KHALAF,
NASHAT “NASH” KHALAF,
ZAHER MOSTAFA, and
TAHA “TOM” SHAWAR

        Defendants.
	
             DEFENDANTS’ UNOPPOSED MOTION TO CONTINUE HEARING

       All defendants, through their undersigned counsel request that the Court reschedule the

Hearing currently set for March, 26, 2019. As grounds for this request, counsel state as follows:

       1.      Both counsel for Nashet Khalaf will be out of state on the current date of the hearing

and unable to attend.

       2.      Counsel has consulted with all of the defense counsel and all counsel and all

defendants can be available if the Court is willing to reschedule this hearing for anytime during

the week of April 15-19 or on April 22 or 23.

       3.      Counsel also consulted with Sean Sullivan, counsel for the government. He advised

counsel that having the hearing at the above mentioned dates in April will be more convenient for

government counsel as well.

       4.      The proposed continuance will not prejudice either party.

       5.      For this reason, all defense and government counsel respectfully request that the

matter be rescheduled during the week of April 15-19 or on April 22 or 23.

       WHEREFORE, undersigned counsel respectfully requests that the Court reschedule the

Hearing the week of April 15-19 or on April 22 or 23.
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                                     Respectfully submitted,

                                     FREEDMAN BOYD HOLLANDER GOLDBERG
                                     URIAS & WARD, P.A

                                     /s/ Nancy Hollander
                                     Nancy Hollander
                                     John Boyd
                                     20 First Plaza Center, NW, Suite 700
                                     Albuquerque, NM 87102
                                     P: 505-842-9960
                                     nh@fbdlaw.com
                                     jwb@fbdlaw.com

                                     Matthew M. Beck
                                     RODEY, DICKASON,
                                     SLOAN, AKIN & ROBB, P.A.
                                     PO Box 1888
                                     Albuquerque, NM 87103
                                     mbeck@rodey.com
                                     Attorneys for Defendant Zaher Mostafa

                                     Mark T. Baker
                                     Carter B. Harrison IV
                                     PEIFER,HANSON & MULLINS, P.A.
                                     PO Box 25245
                                     Albuquerque, NM 87125
                                     mbaker@peiferlaw.com
                                     charrison@peiferlaw.com
                                     Attorneys for Defendants Sterling Islands,
                                     Inc. and Jawad Khalaf

                                     Ahmad Assed
                                     Richard Moran
                                     AHMAD ASSED & ASSOCIATES
                                     818 5th Street NW
                                     Albuquerque, NM 87102
                                     ahmad@assedlaw.com
                                     richard@assedlaw.com
                                     Attorneys for Defendant Nader Khalaf
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                               CERTIFICATE OF SERVICE

       I hereby certify that on March 13, 2019, I filed the foregoing pleading electronically
through the CM/ECF system, which caused all counsel or parties to be served by electronic
means, as more fully reflected on the Notice of Electronic Filing:


/s/ Nancy Hollander
Nancy Hollander

                                                 	




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